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                                                                                                                        P-HB C-01226




           From:                      Bianco Jr., Mike (Pharmacy)
           Sent:                      Wed, 1 Oct 201418:27:15 -0400
           To:                        Millward, Joseph
           Cc:                        Carlson, Gregory
           Subject:                   FW: Narcs found in tote
           Importance:                High



          Hi Joe,
          As you likely know the DEA was in for an inspection of the warehouse today specifically asking about
          Hydrocodone containing products. At the time, the warehouse reported having no hydrocodone
          containing products on hand.
          Currently we have 1 case of Hvdrocodone/ Apap 5/325 that was intended for 6510 which is being
          shipped out tonight after discussion with Tracy Patel. We also have 1 tote of which the contents are
          described below that was returned to the warehouse. The original owner of the returned tote is not
          able to be. identified by Donna Matty or myself through various methods. Can you tell me how you
          would like these contents to be handled? I would like to have the four units of hvdrocodone contain
          products out of the warehouse by 10/5 so we can avoid any issues with the schedule change.
          Thanks,
          Mike



          From: Bianco Jr., Mike (Pharmacy)
          Sent: Thursday, September 25, 2014 1:31 PM
          To: STR_Pharmacy_PDLS
          Cc: Millward, Joseph; Matty, Donna; Shaheen, Richard; carlson, Gregory
          Subject: Narcs found in tote

          Hi PDLs,
          We had a narcotic tote returned to the HBC warehouse today with no identifying markings on or in the
          tote so we are unable to determine the pharmacy these came from. Please let me know if any of your
          pharmacies have reported these items missing.

          2   units ··· item 144535   HYDROCO/APAP 5-325MG TAB (NOC 00603-3890-21)
          1   unit- item 172502       TRAMADOL SOMG TAB (NOC 57664-0377-13)
          1   unit - item 1151 B      ZOLP!DEM .1.0MG TAB (NIJC 13668-0008-01)
          1   unit - item 118422      CLONAZEPAM lMG TAB (NDC 00603··2949·21)
          1   unit - item 181297      HYDROCOiAPAP 10-325MG TAB (NDC 00603-3887-21)
          1   unit - item 186775      HYDHOCO/APAP 7.5-325MG TAB (NDC 00603-3891-21)
          1   unit - item 336396      LORAZEPAM 0.5MG TAB (NOC 00.378-2321-05)

          Additionallv, we have seen a large number of totes being returned to the warehouse with their contents
          still inside, many of which are refrigerated or controlled items. Please attempt to address this as you see
          fit.

          Thanks,
          Mike


                                                                                         EXHIBIT

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CONFIDENTIAL                                                                                                  HBC_MDL00137363
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CONFIDENTIAL                                                                  HBC_MDL00137364
